     Case: 1:09-cv-01221 Document #: 78-2 Filed: 05/14/09 Page 1 of 2 PageID #:552




              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,                 )
                                                 )
                     Plaintiffs,                 )
                                                 )   Case No. 09-CV-1221
v.                                               )
                                                 )
INVESTFORCLOSURES FINANCIAL,                     )   Judge Leinenweber
L.L.C.; et al.,                                  )
                                                 )   Magistrate Judge Nolan
                                                 )
                     Defendants.                 )

                                   NOTICE OF FILING

TO:     ATTACHED SERVICE LIST

      PLEASE TAKE NOTICE that on May 14, 2009, I filed electronically with the
United States District Court for the Northern District of Illinois the Affidavit of Erin
Ostenson of publication of the Legal Notice about this case in the Wall Street
Journal on May 11, 2009.

                                         PLAINTIFFS

                                         By: __/s/ Robert C. Thurston____
                                               One of Their Attorneys

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   Case: 1:09-cv-01221 Document #: 78-2 Filed: 05/14/09 Page 2 of 2 PageID #:553




                            CERTIFICATE OF SERVICE

        I, Robert C. Thurston, an attorney, hereby certify that I served a copy of this
Notice and the referenced documents therein upon all persons on the Service List
below by causing the same to be sent via ECF for all Filing Users and via U.S. Mail
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                                        By: __/s/ Robert C. Thurston____



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